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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 UNITED STATES OF AMERICA,

        Plaintiff,

                v.

 AMERISOURCEBERGEN CORPORATION;                   Case No. 2:22-cv-05209-GJP
 AMERISOURCEBERGEN DRUG
 CORPORATION; and INTEGRATED
 COMMERCIALIZATION SOLUTIONS, LLC,
                                                  ORAL ARGUMENT REQUESTED
        Defendants.


                          DEFENDANTS’ MOTION TO DISMISS

       Defendants AmerisourceBergen Corporation, AmerisourceBergen Drug Corporation, and

Integrated Commercialization Solutions, LLC respectfully move to dismiss the Complaint with

prejudice. Defendants’ Motion is supported by the incorporated memorandum of law filed

herewith.

 Dated: March 30, 2023                         Respectfully submitted,

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                               Corporation, and Integrated
                               Commercialization Solutions, LLC
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 30, 2023, I served a true and correct copy of the foregoing

upon all counsel of record via the Court’s CM/ECF electronic filing system.



                                                                    /s/ Andrew J. Levander
                                                                     Andrew J. Levander
